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    EXHIBIT 3
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                                                                         1300 Pennsylvania Avenue, NW
                                                                           Washington, DC 20229




                                                                           U.S. Customs and
                                                                           Border Protection
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                                                                            Deputy Commissioner

MEMORANDUM FOR:                See Distribution

FROM:                          David V. Aguilar                                —01
                               Deputy Commissioner

SUBJECT:                      U.S. Customs and Border Protection Enforcement Actions at or
                              Near Certain Community Locations

The presence of U.S. Customs and Border Protection (CBP) Officers and Agents conducting
enforcement activities at or near schools, places of worship, and certain other community
locations has been a sensitive issue. Accordingly, careful consideration and planning must be
undertaken, as outlined herein, in relation to enforcement actions conducted at or near these
establishments.

The following establishments should be considered to be within the context of this policy:

        schools, including pre-schools, primary schools, secondary schools, post-secondary
        schools, vocational or trade schools, and colleges and universities;
        places of worship, including places where funerals, weddings, or other public religious
        ceremonies are taking place;
        community centers; and
        hospitals.

CBP personnel should consult their supervisors for guidance when an enforcement action is
being contemplated or planned at or near a location not specifically listed above but that may be
similar in nature, description, or function. In assessing the appropriateness of a proposed action,
supervisors should consider alternative measures that could achieve the enforcement objective
without causing significant disruption to the normal activities or operations at the identified
location, including the importance of the enforcement objective in furthering CBP's mission.

When CBP enforcement actions or investigative activities are likely to lead to an apprehension at
or near such locations, written approval by the Chief Patrol Agent, Director of Field Operations,
Director of Air and Marine Operations or the Internal Affairs Special Agent in Charge is
required. The Deputy to these offices may approve the inspection of records, preliminary
investigative activities, and similar activities at these locations where apprehensions are not
likely to be made.

This policy does not summarily preclude enforcement actions at the listed locations. When
situations arise that call for enforcement actions at or near the above-mentioned establishments
without prior written approval, Agents and Officers are expected to exercise sound judgment and
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Near Certain Community Locations
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common sense while taking appropriate action. Exigent circumstances, including matters related
to national security, terrorism, or public safety, requiring an Agent or Officer to enter these
establishments, must be reported immediately through the respective chain of command, as
applicable.

This policy does not limit or otherwise apply to CBP operations that are conducted at or near the
international border (including the functional equivalent of the border), or CBP operations that
bear nexus to the border including, for example, but not limited to smuggling interdiction efforts
that result in transportation to a hospital, custodial monitoring of injured aliens in CBP custody
that require hospitalization, or a controlled delivery from the border that concludes in close
proximity of one of the aforementioned locations.

This CBP policy guidance memorandum, which may be modified, superseded, or rescinded by
CBP at any time without notice, is not intended to, does not, and may not be relied upon to
create, any right or benefit, substantive or procedural, for any party.


Distribution: Assistant Commissioner, Office of Air and Marine
               Assistant Commissioner, Office of Field Operations
               Assistant Commissioner, Office of Internal Affairs
               Chief, Office of Border Patrol
               Chief Counsel
